IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA

CHARLOTTE DIVISION
PAMELA D. PEEBLES,
Plaintiff,
vs.
LUM TREYUPA FOBI, Individually CIVIL FILE NO.: 3:25-CV-503
and d/b/a LT FOBI LAW, LLC;
WILLIAM RENARD CREDLE,
individually; and JOHN DOE
INSURANCE COMPANY,
Defendants.
NOTICE OF REMOVAL

COMES NOW Defendant Lum Treyupa Fobi, individually and d/b/a LT Fobi Law, LLC
(“Defendant Fobi”), by and through undersigned counsel, and files this Notice of Removal,

respectfully showing the Court as follows:

1. On May 28, 2025, Plaintiff Pamela D. Peebles (“Plaintiff”) filed suit against

Defendant Fobi in the civil action styled Pamela D. Peebles v. Lum Treyupa Fobi, individually

and_ d/b/a LT Fobi Law, LLC, and John Doe Insurance Company, in Superior Court of

Mecklenburg County, North Carolina, Civil Action No. 25CV026560-590. Plaintiff filed this civil
action against Defendant Fobi and Defendant John Doe Insurance Company for alleged claims of
legal malpractice, unauthorized practice of law, fraud and misrepresentation, intentional infliction
of emotional distress, constructive fraud, punitive damages, negligent misrepresentation, and
multijurisdictional ethics violation as it pertains to a North Carolina quitclaim deed drafted by

Defendant Fobi.

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2. On June 11, 2025, Plaintiff filed her first Amended Complaint, adding Defendant
Credle as a party to this action, adding further factual allegations, altering and adding causes of
action against Defendant Fobi, alleging specific causes of action against Defendant Credle and
Defendant John Doe Insurance Company, and increasing her request for compensatory relief.

3. On July 10, 2025, Plaintiff filed her second Amended Complaint, supplementing
her factual allegations, altering causes of action asserted against Defendants Fobi and Credle,
attaching additional exhibits, and further increasing her request for compensatory relief.

4. A copy of state pleadings available on North Carolina’s eCourts File & Serve
system are attached collectively hereto as Exhibit 1.

Complete Diversity Jurisdiction Exists

5. At the time of filing Plaintiff's first Amended Complaint, Plaintiff was a citizen
and resident of the State of North Carolina.

6. At the time of filing Plaintiff's first Amended Complaint, Defendant Fobi was a
citizen and resident of the State of Georgia.

7. At the time of filing Plaintiffs first Amended Complaint, Defendant Credle was a
citizen and resident of the State of Georgia.

8. Defendant John Doe Insurance Company is a merely nominal or sham party against
whom no real relief is sought. Specifically, as alleged in each of Plaintiffs first and second
Amended Complaint, Defendant John Doe Insurance Company “is a fictitious entity believed to
provide professional liability coverage for Defendant Fobi.” However, a third party who is not the
insured and is not in privity with the insurer does not have a cause of action against the insurance
company. See Anderson v. Lancaster Aviation, Inc., 220 F. Supp. 2d 524, 530 (M.D.N.C. 2002).

Being that Plaintiff's allegations within the Amended Complaint demonstrated that Defendant

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Fobi would be Defendant John Doe Insurance Company’s insured and there are no allegations that
Plaintiff was in privity with Defendant John Does Insurance Company, Defendant John Doe
Insurance Company may be disregarded in determining the propriety of removal. See Holloway v.
Pac. Indem. Co., 422 F. Supp. 1036, 1038 (E.D. Mich. 1976).

9. Therefore, complete diversity of citizenship exists between Plaintiff and
Defendants because Plaintiff is a citizen of the State of North Carolina, and Defendants Fobi and
Credle are citizens of the State of Georgia.

Amount in Controversy Exceeds $75,000

10. ‘Plaintiff's first Amended Complaint seeks a judgment for a sum in excess of
$75,000, exclusive of interests and costs. In the first Amended Complaint, Plaintiff seeks
compensatory damages in “an amount no less than $6,500,000, jointly and severally against all
Defendants.”

Removal is Timely

11. Plaintiff's initial Complaint filed on May 28, 2025, was void of any allegations
regarding jurisdictional averments pertaining to the parties. Therefore, Defendant Fobi was unable
to ascertain removability of this action.

12. Plaintiff's first Amended Complaint filed on June 11, 2025, included jurisdictional
allegations pertaining to Plaintiff and Defendants Fobi and Credle.

13. | With respect to removal on the basis of diversity jurisdiction, this removal is timely
because it has been filed within thirty (30) days after receipt by Defendant Fobi of a copy of
Plaintiffs first Amended Complaint, which was on June 11, 2025. 28 U.S.C. § 1446(b)(3). The

parties being fully diverse, this Court has jurisdiction pursuant to 28 U.S.C. § 1332(a)(1).

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Venue is Proper in the Western District of North Carolina

14. The United States District Court for the Western District of North Carolina is the
proper venue for removal under 28 U.S.C. § 1441(a), because the Western District, Charlotte
Division, encompasses Mecklenburg County, North Carolina. See 28 U.S.C. § 90(a)(3)

Exception to the Unanimity Requirement

15. Federal courts have recognized exceptions to the rule of unanimity. Hartford Fire
Ins. Co. v. Harleysville Mut. Ins. Co., 736 F.3d 255, 259 (4th Cir.2013). A defendant need not join
in or consent to removal if: “(1) it had not been served with process at the time the removal petition
was filed; (2) it is merely a nominal or formal party defendant; or (3) the removed claim is
independent of one or more nonremovable claims against the non-joining defendants.” See
Palmetto Automatic Sprinkler Co. v. Smith Cooper Int'l, Inc., 995 F. Supp. 2d 492, 495 (D.S.C.
2014); Creekmore v. Food Lion, Inc., 797 F.Supp. 505, 508 (E.D.Va.1992).

16. Defendant Credle has not been properly served with a copy of Plaintiff's Amended
Summons and Complaint. Specifically, Defendant Credle was not properly served pursuant to Rule
4 of the North Carolina Rules of Civil Procedure based upon a defective summons. See Exhibit 1
at p. 242.

17. Additionally, John Doe Insurance Company is a merely a nominal or sham party
against whom no real relief is sought.

18. Therefore, Defendant Fobi does not need to satisfy the unanimity requirement.

Removal is Proper

19. No previous application for the relief sought herein has been made to this or any

other Court by the Defendants.

20. Good and sufficient defenses to Plaintiffs claims exist.

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21. Now, within thirty (30) days after receipt by Defendant Fobi of a copy of
Plaintiff's first Amended Complaint, which was on June 11, 2025, setting forth the claim upon
which this civil action is based, notice is hereby given, in accordance with 28 U.S.C. § 1446 and
pursuant to Rule 11 of the Federal Rules of Civil Procedure, of the removal of said action to this
Court.

22. Defendant Fobi has given written notice of the filing of the Notice of Removal to
Plaintiff, Defendant Credle, and the Clerk of Superior Court of Mecklenburg County. A copy of
the Notice of Filing of Notice of Removal is attached hereto as Exhibit 2.

WHEREFORE, this matter is hereby removed to the United States District Court for the

Western District of North Carolina, Charlotte Division.

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“—eofiey A, Mafeus (NC Bar No. 54907)
R. Gitegory Levis (NC Bar No. 17496)
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Attorneys for Defendant Lum Treyupa Fobi,
individually and d/b/a LT Fobi Law, LLC

This the 11th day of July, 2025.

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CERTIFICATE OF SERVICE
Pursuant to Rule 5 of the Federal Rules of Civil Procedure, I hereby certify that a copy of

the foregoing document was served by USPS First Class Mail:

Pamela D. Peebles
14914 Bagley Lane
Charlotte, NC 28227
pamdpeebles@gmail.com
Pro Se Plaintiff

William Renard Credle
3146 W Manor Circle SW
Atlanta, Georgia 30311
Pro Se Defendant

This the 11th day of July, 2025.

individually and d/b/a LT Fobi Law, LLC

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